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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Crim. No. 21-er-00032 (DLF)
. ;
GUY WESLEY REFFITT,
Defendant. :
VERDICT FORM

Count One: Transporting a Firearm in Furtherance of a Civil Disorder

Guilty Not Guilty
Count Two: Sa an Official Proceeding
Guilty Not Guilty

Count Three: Entering or Remaining in a Restricted Building or Grounds with a Firearm

Guilty Not Guilty
If you find the defendant not guilty of Count Three, then proceed to Count Three (a). If
you find the defendant guilty of Count Three, then skip Count Three (a) and proceed to

Count Four.

Count Three (a): Entering or Remaining in a Restricted Building or Grounds

Guilty Not Guilty
Count Four: Ts g Officers During a Civil Disorder
Guilty Not Guilty

Count Five: Obstruction of Justice—Hindering Communication Through Force or Threat of
Physical Force

Guilty Not Guilty

Date: March __, 2022
